

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-75,270






EX PARTE GENE AUTHER TAYLOR, Applicant






ON APPLICATION FOR A WRIT OF HABEAS CORPUS 


CAUSE NO. 73811-A IN THE 263RD JUDICIAL DISTRICT COURT 

OF HARRIS COUNTY




	Per curiam.

O P I N I O N





	This is a post-conviction application for a writ of habeas corpus forwarded to this
Court pursuant to Tex. Code Crim. Proc. art. 11.07.  Applicant was convicted of the felony
offense of Capital Murder, and punishment was assessed at life imprisonment.  Applicant
appealed, and his conviction was affirmed. Taylor v. State, No. 14-97-01325-CR (Tex. App.
-- Houston [14th Dist.]1999, no pet.).

	Applicant contends that he was denied an opportunity to file a petition for
discretionary review because his appellate attorney did not timely notify him that he could
seek discretionary review, pro se.  The record reflects that counsel did not timely inform
Applicant that he could file a petition for discretionary review from his conviction.

	Habeas corpus relief is granted and Applicant is granted leave to file an out-of-time
petition for discretionary review from his conviction in cause number 738114-A from the
263rd Judicial District Court of Harris County.  Applicant is ordered returned to the point at
which he can file a meaningful petition for discretionary review.  For purposes of the Texas
Rules of Appellate Procedure, all time limits shall be calculated as if the Court of Appeals'
decision had been rendered on the day the mandate of this Court issues.  We hold that should
Applicant desire to seek discretionary review, he must take affirmative steps to see that his
petition is filed in the Court of Appeals within thirty days of the date the mandate of this
Court has issued.DELIVERED: October 19, 2005

DO NOT PUBLISH


